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Fnss sr.§

 

IN THE UNITED sTATEs DISTRICT coURT h
FOR THE wEsTERN DISTRICT OF TENNESSE§JH§F~H PH SfHZ
wEsTERN DIVISION

 

CATHERINE JO ZEBROSKI, et al.,

Plaintiffs,

V.

CENTURY TRANSPORTATION, INC.,

et al.,

Defendants.

 

NO. 04-2709 Ml/V

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ORDER SETTING TRIAL AND PRETRIAL DATES

 

Pursuant to Local Rule 72.1(£), a Rule 16(b) Scheduling Order

Was entered on April 22, 2005, by United States Magistrate Judge

Diane K. Vescovo. In accordance with the deadlines established in

that order, trial and pretrial dates are set as follows before the

District Court:

The jury trial in this matter, which is anticipated to
last four (4) days, is set to begin MondaV, Mav 22, 2006
at 9:30 a.m. in courtroom no. 4.

A pretrial conference is set for Mondav, Mav 15, 2006 at
8:45 a.m.

The joint pretrial order and proposed jury instructions

and voir dire questions are due by no later than 4:30

p.m. on May 8c 2006.

Th!s document entered on fha docket sheet in c mpl|ance
with Ru!e 53 and/or 79(3) FRCP on ' 'O
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Absent good cause, the dates established by this order shall

not be extended or modified.

IT IS SO ORDERED this &f day of May, 2005.

QNWOM

PHIPPS MCCALLA
OITED STATES DISTRICT JUDGE

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 31 in
case 2:04-CV-02709 Was distributed by faX, mail, or direct printing on
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ESSEE

 

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Honorable Jon McCalla
US DISTRICT COURT

